Case 2:19-cv-08746-DMG-E Document 73 Filed 10/08/21 Page 1 of 1 Page ID #:506




                               UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
                                 CIVIL MINUTES - GENERAL

Case No.      CV 19-8746-DMG (Ex)                                           Date     October 8, 2021

Title Jose Estrada v. Maria E. Gonzalez et al.


Present: The Honorable        DOLLY M. GEE, UNITED STATES DISTRICT JUDGE

               Kane Tien                                                     Not Reported
              Deputy Clerk                                                   Court Reporter

    Attorneys Present for Plaintiff(s)                            Attorneys Present for Defendant(s)
              Not Present                                                    Not Present

Proceedings: IN CHAMBERS - ORDER TO SHOW CAUSE RE: DISMISSAL FOR
             LACK OF PROSECUTION

        Absent a showing of good cause, an action must be dismissed without prejudice if the summons
and complaint are not served on a defendant within 90 days after the complaint is filed. See Fed. R. Civ.
P. 4(m). Generally, defendant must answer the complaint within 21 days after service (60 days if the
defendant is the United States).

         In the present case, it appears that one or more of these time periods has not been met.
Accordingly, the Court, on its own motion, orders plaintiff(s) to show cause in writing on or before
October 22, 2021 why this action should not be dismissed as to defendant Maria E. Gonzalez for lack of
prosecution. As an alternative to a written response by plaintiff(s), the Court will consider the filing of
one of the following, as an appropriate response to this Order To Show Cause, on or before the above
date, as evidence that the matter is being prosecuted diligently:

___X___ An answer by the following defendant(s): Maria E. Gonzalez;
___X___ Plaintiff's application for entry of default pursuant to Rule 55a of the Federal Rules of Civil
        Procedure;

         It is plaintiff's responsibility to respond promptly to all Orders and to prosecute the action
diligently, including filing proofs of service and stipulations extending time to respond. If necessary,
plaintiff(s) must also pursue Rule 55 remedies promptly upon the default of any defendant. All
stipulations affecting the progress of the case must be approved by this Court. (Local Rules 7-1 and 7-2.)

        No oral argument of this matter will be heard unless ordered by the Court. The Order will stand
submitted upon the filing of a responsive pleading or motion on or before the date upon which a response
by plaintiff(s) is due. This action will be dismissed as to defendant Maria E. Gonzalez if the above-
mentioned document(s) are not filed by the date indicated above.




CV-90                                 CIVIL MINUTES - GENERAL                      Initials of Deputy Clerk KT
